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 Attorneys for Defendants Salt Lake City and Officer Clinton Fox


                       IN THE UNITED STATES DISTRICT COURT
                         STATE OF UTAH, CENTRAL DIVISION


  ESTATE OF PATRICK HARMON SR.;
  PATRICK HARMON II, as Personal
  Representative of the Estate of Patrick
  Harmon Sr., and heir of Patrick Harmon Sr.,           APPENDIX IN SUPPORT OF
  TASHA SMITH, as heir of Patrick Harmon,              DEFENDANTS’ MOTION FOR
  Sr.,                                                   SUMMARY JUDGMENT

                Plaintiffs,                           Case No. 2:19-cv-00553-HCN-CMR

         vs.                                          District Judge Howard C. Nielson, Jr.
                                                      Magistrate Judge Cecilia M. Romero
  SALT LAKE CITY, a municipality; and
  OFFICER CLINTON FOX, in his individual
  capacity,

                Defendants.


        Defendants Salt Lake City Corporation and Officer Clinton Fox, through counsel, hereby

 submit this Appendix of Evidence in support of their Motion for Summary Judgment.




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No.                  Description                       Date           Document Source
      Docket, Case No. 22901-02614-01 (Mo.
 1                                                   Various        Public Court Databases
      21st Cir. Ct.)
      Docket, Case No. 001901372 (Utah 2d
      Dist. Ct.); Docket, Case No. 001902478
 2    (Utah 2d Dist. Ct.); Docket, Case No.          Various        Public Court Databases
      061906238 (Utah 3d Dist. Ct.); Docket,
      Case No. 1:07-CR-00113 (D. Utah)
      Criminal Information & Docket, Case No.
 3                                                   Various        Public Court Databases
      161402877 (3d Dist. Ct.)
 4    Patrick Harmon Active Warrants              August 14, 2017     SLCC_001327–33

 5    Deposition of Officer Clinton Fox            June 17, 2022              -

 6    Declaration of Officer Clinton Fox          August 26, 2022             -

 7    Deposition of Officer Kris Smith             June 16, 2022              -

 8    Declaration of Officer Kris Smith           August 24, 2022             -
      Officer Kris Smith Body-worn Camera
 9                                                August 13, 2017      SLCC_001932
      [filed conventionally]
      Officer Scott Robinson Body-worn Camera
 10                                               August 13, 2017      SLCC_001931
      [filed conventionally]
 11   Deposition of Officer Scott Robinson         June 16, 2022              -
      Officer Clinton Fox Body-worn Camera
 12                                               August 13, 2017      SLCC_001941
      [filed conventionally]
      Combined Officer Body-worn Camera
 13                                               August 13, 2017      SLCC_002753
      [filed conventionally]
      Officer Clinton Fox Body-worn Camera
 14                                               August 13, 2017     SLCC_002603–65
      still-frame photos [filed conventionally]
      Officer Kris Smith Body-worn Camera
 15                                               August 13, 2017     SLCC_002702–52
      still-frame photos [filed conventionally]
      Officer Scott Robinson Body-worn Camera
 16                                               August 13, 2017    SLCC_002666–701
      still-frame photos [filed conventionally]




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No.                  Description                          Date               Document Source
                                                                              SLCC_001172,
      Unified Police Department OICI Report                                  SLCC_001093–94,
 17                                                 August 13, 2017
      (excerpted due to size)                                                SLCC_001105–12,
                                                                             SLCC_001887–89
      Salt Lake County District Attorney
 18                                                 October 4, 2017          SLCC_000653–70
      Screening Letter
 19   F.B.I. Screening Letter                      December 8, 2017           SLCC_000646

 20   NMS Labs Toxicology Report                    August 29, 2017          SLCC_000207–10


      DATED: August 26, 2022.
                                                  SALT LAKE CITY CORPORATION



                                                  /s/ Katherine R. Nichols
                                                  Katherine R. Nichols

                                                  Attorney for Defendants Salt Lake City and
                                                  Officer Clinton Fox




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on August 26, 2022, a true and correct copy of the foregoing was

 electronically filed with the Clerk of the Court, which sent notice to:

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